       Case 3:16-md-02741-VC Document 14488 Filed 01/21/22 Page 1 of 10




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 270: ORDER
                                                     TO SHOW CAUSE REGARDING
   See Appendix 1                                    NON-COMPLIANCE WITH
                                                     PRETRIAL ORDER NO. 240



       Court-appointed Special Master Ken Feinberg established a program to allow plaintiffs in

this MDL to receive settlement offers. Pretrial Order No. 240 ordered every current and future

plaintiff in this MDL who has not already reached a settlement with Monsanto to participate in

the settlement program. See Appendix 2 (Pretrial Order No. 240, Dkt. No. 13323). Pursuant to

the settlement program, the Special Master has been sending plaintiffs requests for information

regarding their claims and the requests include deadlines by which the plaintiffs must respond.
Pretrial Order No. 240 states that plaintiffs are required to submit information requested by the

Special Master by the deadlines that he sets and that failure to do so will be deemed a violation

of Pretrial Order No. 240 that could result in sanctions. See id.

       The Special Master recently informed the Court that ninety-eight plaintiffs have failed to

respond to the Special Master’s requests for information by the deadlines that the Special Master

set. Appendix 1 to this Order lists the plaintiffs that have failed to respond to the Special

Master’s information requests. The plaintiffs and their counsel for the cases appearing in

Appendix 1 have 21 days to file a written response to this Order showing cause as to why their
       Case 3:16-md-02741-VC Document 14488 Filed 01/21/22 Page 2 of 10




case should not be dismissed with prejudice under Federal Rule of Civil Procedure 41(b) based

on a failure to participate in the settlement program under Pretrial Order No. 240. As the Court

has previously explained, no plaintiff is required to accept a settlement offer, but every plaintiff

is required to provide the information necessary for the Special Master to make an offer.

Furthermore, as the Court has previously explained, participation in the program will not create

any delays for any plaintiff on the litigation side.



       IT IS SO ORDERED.

Dated: January 21, 2022


                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




                                                   2
Case 3:16-md-02741-VC Document 14488 Filed 01/21/22 Page 3 of 10




             Appendix 1




                               3
Case 3:16-md-02741-VC Document 14488 Filed 01/21/22 Page 4 of 10
Case 3:16-md-02741-VC Document 14488 Filed 01/21/22 Page 5 of 10




                Henson, Margot M.          3:20-cv-02125
                 Keeler Jr., David         3:18-cv-01694
                   Kelly, Kecia            3:19-cv-07208
                  Kelly, Teresa            3:19-cv-05339
               Kendrick, Wendy W.          3:19-cv-03326
                 King, Robert T.           3:19-cv-04531
                Laginess, Craig M.         3:20-cv-07217
                 Lane, Miracle C.          3:19-cv-03901
                   Leas, Robert            3:19-cv-01376
               Liesinger, Mary Ann         3:21-cv-05221
               Massey, William V.          3:19-cv-06444
               McCall, Timothy R.          3:19-cv-05868
               McCandlish, Melvin          3:20-cv-02409
                       G.
               McMorris, Melissa           3:20-cv-07220
                     Kaye
               McRay, Mary Lou             3:21-cv-01213
                Metcalf, Roderick          3:19-cv-05210
                      Burrell
                Miller, Sr., Clayton       3:19-cv-01556
                     Anthony
                 Minando, Perry            3:17-cv-03227
                Morgan, Yvonne E.          3:20-cv-02408
                Morris, Christopher        3:20-cv-01957
                Mullis, Donald K.          3:19-cv-04112
                 Murphy, Dennis            3:19-cv-07120
                 Myers, Raleigh            3:19-cv-05291
                    Lehane
                Newsom, Henrietta          3:20-cv-00578
               Niolet, Kelvin Barry        3:21-cv-00173
                  Payne, Charles           3:19-cv-05875
                   Stephenson
                  Penix, Mary E.           3:20-cv-07554
                Perilman, Richard          3:19-cv-08446
                    Pike, John             3:20-cv-08192



                                       5
Case 3:16-md-02741-VC Document 14488 Filed 01/21/22 Page 6 of 10




                  Ready, Kristina          3:21-cv-02122
                    Boutwell
                 Rizzuto, Jared J.         3:19-cv-03956
               Robbins, Gwendolyn          3:19-cv-04014
                 Robinson, Carol           3:21-cv-00674
                Rogers, Jr., Dwight        3:20-cv-03064
                  Rutland, Roy             3:20-cv-05372
                 Sanchez, Maria            3:20-cv-02634
                 Scruggs, John L.          3:19-cv-05867
                 Shields, Roscoe           3:20-cv-02485
               Shipman, Edward B.          3:21-cv-03272
                  Shirah, Patricia         3:19-cv-05227
                      Diane
                Sims, Kimberly J.          3:19-cv-05999
               Singleton, Jr., Danny       3:20-cv-02410
                       Ray
               Sissac, Henry Roger         3:21-cv-00043
                 Smith, Alice M.           3:20-cv-00577
                  Smith, Betty J.          3:20-cv-03938
                 Smith, Cornelius          3:20-cv-06353
                 Smith, George D.          3:18-cv-03757
                  Smith, Sean M.           3:19-cv-07235
                 Speyrer, Wesley           3:20-cv-06354
                        Louis
                  Stepney, Gilda           3:19-cv-05568
                  Story, Stephen           3:20-cv-06991
                       Russell
                Tate, Jessica Laurel       3:21-cv-01504
                Taylor, Kerrigan D.        3:19-cv-05650
                Thirstrup, Robert J.       3:19-cv-03327
                  Tory, Hamilton           3:19-cv-05379
                  Utecht, Levi C.          3:19-cv-04677
                  Wagner, Marty            3:20-cv-03733
                 Walker, Maxine            3:19-cv-04009
                Washington, Renee          3:21-cv-00640




                                       6
Case 3:16-md-02741-VC Document 14488 Filed 01/21/22 Page 7 of 10




                Watson, Walter          3:18-cv-02100
                 Webb, Dan W.           3:20-cv-00493
                Wiggins, Mark E.        3:19-cv-06445
                Williams, Charles       3:20-cv-04758
                 Wix, Patsy W.          3:20-cv-02648
               Wolfenbarger, Todd       3:19-cv-06822
                Woodruff, Patricia      3:19-cv-07531
               Zuiderveen, Randall      3:20-cv-00582




                                    7
Case 3:16-md-02741-VC Document 14488 Filed 01/21/22 Page 8 of 10




             Appendix 2
       Case
       Case3:16-md-02741-VC
            3:16-md-02741-VC Document
                             Document14488
                                      13323 Filed
                                            Filed01/21/22
                                                  07/23/21 Page
                                                           Page91of
                                                                 of10
                                                                    2




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        PRETRIAL ORDER NO. 240:
                                                    ORDER REQUIRING
   ALL CASES                                        PARTICIPATION IN SPECIAL
                                                    MASTER PROGRAM




       Court-appointed Special Master Ken Feinberg has established a program to allow

plaintiffs in this MDL to receive an offer of a payment to settle their cases. Every current and

future plaintiff in this MDL who has not already reached a settlement with Monsanto is ordered

to participate in the program.

       Pursuant to the program, counsel for individual plaintiffs (or the plaintiffs themselves, if

they are unrepresented) will receive a letter from the Special Master requesting certain

information (and supporting documentation) regarding their claims. Every plaintiff is ordered to

submit the information requested by the Special Master by the deadline he establishes. Failure to

do so will be deemed a violation of this order.

       Once the Special Master has received the information from the plaintiff, Monsanto will

be given an opportunity to submit its own information regarding the plaintiff’s claims. Pursuant

to Monsanto’s consent, the Special Master will then consider all the information submitted

regarding the plaintiff’s claims and make a written settlement offer to the plaintiff, based on his
independent analysis of the claims. Once the Special Master has made this offer, it is binding on
      Case
       Case3:16-md-02741-VC
            3:16-md-02741-VC Document
                              Document14488
                                       13323 Filed
                                              Filed01/21/22
                                                    07/23/21 Page
                                                              Page10
                                                                   2 of 2
                                                                        10




Monsanto—the company is required to pay it if the plaintiff accepts. The plaintiff may either

accept or reject the offer, but there will be no further negotiation once the Special Master has

conducted his analysis and made his offer.

       There is no penalty for refusal of an offer, and there will be no delay in the litigation

process while a plaintiff timely participates in the Special Master’s program. However, if a

plaintiff fails to participate in the program in accordance with the deadlines set by the Special

Master, that could result in a delay of the litigation, and it will be deemed a violation of this

order, which could result in sanctions.

       The Special Master will contact each plaintiff; plaintiffs do not need to reach out to him.

       IT IS SO ORDERED.



Dated: July 23, 2021
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




                                                  2
